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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

          -against-                      18 Cr. 567 (VSB)

CHRISTOPHER COLLINS,
CAMERON COLLINS, and
STEPHEN ZARSKY,
                       Defendants.



     REPLY IN FURTHER SUPPORT OF CHRISTOPHER C. COLLINS’
EMERGENCY MOTION TO EXTEND REPORT DATE OR, IN THE ALTERNATIVE,
   FOR MODIFICATION OF SENTENCE PURSUANT TO 18 U.S.C. § 3582(c)




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        As Dr. Fauci, one of the country’s foremost infectious disease experts, recently warned,

the country is “not in a good place” and an additional wave of the pandemic is imminent. Prisons

are a hot spot. No matter what the level of precautions, there is a significant and unjustifiable risk

that Mr. Collins will contract COVID-19 in prison. If he does, his age alone makes him at least

five times more likely to be hospitalized and ninety times more likely to die than someone in

their 20s. His various pre-existing comorbidities further heighten these risks. The Government

does not and cannot dispute these facts. This is a “once-in-a-century health crisis”1 and it has

great potential for disastrous human and economic consequences, many of which, tragically,

have already come to pass. The potential of Mr. Collins contracting a life-threatening case of

COVID-19 is one such consequence, but one that can and should easily be avoided at no societal

cost.

        Given the anticipated resurgence of COVID-19 nationwide, and demonstrated recent

upswings in Florida and in FPC Pensacola, the Government cannot provide any assurance that

Mr. Collins will be safe in prison over the next few months. The requested extension, pending

additional developments, is reasonable under the circumstances—particularly given anticipated

progress on the development of a vaccine. Nobody should be subject to substantially more severe

conditions of confinement and the risk of life-threatening health complications because of an

unforeseen, once in a century, pandemic and the Government’s desire to “begin [the] prison

sentence.” Opposition by USA, ECF No. 196 at 5 (“Opp’n”). Justice will not be served by

requiring Mr. Collins to report to prison now.




1
 Tedros Adhanom Ghebreyesus, Director General, World Health Org., Press Conference, Geneva, Switzerland
(Aug. 3, 2020).



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        In support of its position, the Government cites only the dubious proposition that during a

raging pandemic a defendant with multiple underlying risk factors should be required to report

immediately because of “[t]he public . . . interest in seeing justice done in this case without

further delay.” Id. (emphasis added). As a matter of general application, Mr. Collins does not

disagree with this principle—in normal times. In light of a widespread, highly-disruptive, and

deadly pandemic, however, a “business as usual” approach is both cavalier and dangerous. On

balance, Mr. Collins respectfully submits that the present exigency calls for precisely the

discretion that rests with the Court to craft an appropriate and just remedy. The public interest is

not served by exposing Mr. Collins to the risk of contracting a serious, potentially life

threatening, illness.

        Laudably, the Attorney General recognized early in the pandemic the profound obligation

of the Bureau of Prisons (“BOP”) to protect the health and safety of all inmates. See Motion,

ECF No. 196 (“Mtn.”) at 12. Therefore, he ordered BOP to prioritize home confinement,

particularly for inmates like Mr. Collins, who are over the age of 65. Id. at 9-12. Notably, the

findings and directives of the Attorney General remain in full force. Id. at 4. They have not been

rescinded, abrogated, or modified. Yet, the Government completely ignores the Attorney

General’s findings in opposing Mr. Collins’ request for relief. Nor does the Government have an

answer for the fact that, to the extent circumstances have changed, it has been for the worse and

conditions are expected to continue to deteriorate over the coming months in the absence of a

proven, accessible vaccine. Rather, the Government’s opposition is built upon two false

premises. First, the Government’s Pollyannish picture of COVID-19’s effect on prisons and the

purported adequacy of BOP’s testing and response does not withstand any meaningful scrutiny.




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Second, the opposition dramatically understates the risk to Mr. Collins posed by any exposure to

COVID-19.

I.     There Can Be Little Serious Doubt that the BOP is Falling Short

       The Government submits that FPC Pensacola “maintains a rigorous system of testing and

quarantine.” Opp’n at 1. However, nothing about the BOP’s procedures can be considered

“rigorous,” and the information provided by the Government casts substantial doubt on the

ability of the BOP to protect Mr. Collins. According to the Government’s representations, only

fifty prisoners in total have been tested from a population of more than 300 over a period of more

than six months—an average of one test administered approximately every three-and-a-half days.

Moreover, the bulk of these tests appear to be new prisoner arrivals or prisoners departing the

facility, id. at 2, and not the general population. It also appears that asymptomatic prisoners in

the general population are not tested routinely, contrary to CDC guidelines. See, e.g., CDC,

Coronavirus Disease 2019 (COVID-19), “Testing Overview” (Sept. 18, 2020) (“Due to the

significance of asymptomatic and pre-symptomatic transmission, this guidance further reinforces

the need to test asymptomatic persons.”). Thus, it cannot be determined to what extent COVID-

19 is already present in the general population at FPC Pensacola. Asymptomatic carriers of the

disease, of course, pose a particularly significant risk of infecting others.

       Asymptomatic-carrier risk is of particular concern with regard to staff who cycle in and

out of the facility. The Government notes that FPC Pensacola has a strict requirement that only

“symptomatic individuals be tested.” Opp’n at 2. This policy seems to cover both staff and

inmates. The necessary implication is that staff who are not obviously symptomatic are not

subject to any testing or controls. Further, for those staff who have tested positive, the diagnostic

test was performed at the facility meaning that even if “separated from the prisoner population”




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once identified, id. n.2, they had already carried the virus into the facility. It is impossible to say

how long a contagious staff member worked at the facility before showing symptoms and being

tested, or how many inmates and staff he or she may have come in contact with during that

period. See, e.g., Harvard Health Publishing, Harvard Medical School, “If You’ve Been Exposed

to the Coronavirus” (“We know that a person with COVID-19 may be contagious 48 to 72 hours

before starting to experience symptoms. Emerging research suggests that people may actually be

most likely to spread the virus to others during the 48 hours before they start to experience

symptoms.”).2 FPC Pensacola’s failure to test asymptomatic guards at all, let alone regularly,

means that the threat of infection to prisoners and other guards is constant and unrelenting.

Simply, the controls in place are insufficient to catch COVID-19 cases early enough or—for

those who remain asymptomatic—at all.

        Moreover, conditions at FPC Pensacola have apparently changed for the worse over the

past eight weeks since the parties submitted the joint letter to the Court. The Government now

reports four active staff cases and three positive prisoner positives tests. Apparently under the

strain of controlling the spread of the virus, FPC Pensacola has been forced to change its

protocols. Buried in a footnote in the Government’s submission is the disturbing revelation that

all new prisoners who test negative face two weeks of solitary confinement to begin their

sentence, without regard to term, designation or conduct. Id. at 2 n.1. The sole basis for this

extraordinarily harsh treatment is BOP’s insufficient resources to manage the crisis.3 In addition,

this mandatory isolation cannot even be implemented at FPC Pensacola. When new prisoners



2
  Available at https://www.health.harvard.edu/diseases-and-conditions/if-youve-been-exposed-to-the-coronavirus
3
  This appears to be part of a larger, troubling trend. See, e.g., NPR, “As COVID-19 Spreads in Prisons, Lockdowns
Spark Fear of More Solitary Confinement” (June 15, 2020) available at
https://www.npr.org/2020/06/15/877457603/as-covid-spreads-in-u-s-prisons-lockdowns-spark-fear-of-more-
solitary-confinemen


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arrive at FPC Pensacola—assuming they test negative—they are then subject to movement

(presumably on buses) to another facility, FCI Marianna, a medium security prison, and then

shuttled back two weeks later after they are forced to serve in solitary confinement. Such

additional, unnecessary movements only risk further exposure and spread.

        Nor is FPC Pensacola’s “remarkable track record” a cause célèbre. Woefully inadequate

testing means that cases have gone unidentified, asymptomatic prisoners or staff have been

missed, and avoiding a discovered outbreak at FPC Pensacola is likely the result of inadequate

testing and luck as much as anything. See Mtn. at 18 n.25. Rather than wholesale testing at a

large prison facility over more than seven months, only those with “credible” symptoms or those

entering and leaving are tested. Opp’n at 2. Administering fifty tests under these circumstances is

far short of the widespread testing that is critical. See, e.g., NPR, “Which States are Doing

Enough Testing? This Benchmark Helps Settle the Debate” (Apr. 22, 2020).4 In any event, past

performance is never an indication of future results and, with a new wave and a dire winter

expected, FPC Pensacola’s past negative tests are cold comfort against a potential future

outbreak or the dramatic trend currently gripping the country. The statistical snapshot provided

in the Opposition is already outdated.

        Moreover, the Government’s suggestion that Mr. Collins would be safer at FPC

Pensacola, rather than isolating in his home defies logic. The Opposition’s reference to COVID-

19 rates in Collier County is a false equivalency. First, Mr. Collins is not actively out on the

streets of Collier County or forced into close cohabitation with 299 neighbors. Rather, he

remains sheltered in place with his family. See Mtn. at 10. To remove him from a safe

environment where he controls the precautions and attendant risk, and place him into one where


4
 Available at https://www.npr.org/sections/health-shots/2020/04/22/840526338/is-the-u-s-testing-enough-for-
covid-19-as-debate-rages-on-heres-how-to-know.


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he cannot, defies common sense. Further, Collier County has performed tens of thousands of

tests. It does not follow that “it is unlikely that the availability or frequency of testing accounts

for the difference, given the BOP’s strict requirement that symptomatic individuals be tested.”

Opp’n at 2. As noted above, widespread testing—including of asymptomatic—individuals is

critical, which Collier County has recognized. BOP’s meager testing regime is apples to oranges.

        When examined closely, the Government’s explication of the BOP process is also

important for what it does not say. It leaves open crucial questions, including:

               Why is BOP not making broader use of testing as a tool to contain the virus?

               Is BOP making testing available to staff, and if not, why not?

               What is BOP doing to address the staffing shortages that are interfering with
                BOP’s ability to respond to the pandemic?

               Will BOP commit to publicly reporting the number of inmates who are
                symptomatic and presumptive positives, and the deaths of any of these inmates?

These poignant questions are not, however, crafted by Mr. Collins. Rather, these are precisely

some of the same questions that two U.S. Senators posed to Attorney General Barr and BOP

Director Carvajal less than a week ago. See Ex. A, Letter, Hon. Richard J. Durbin & Hon.

Elizabeth Warren to Hon. William P. Barr & Michael Carvajal (Oct. 2, 2020). That same letter,

imploring that more must be done to protect BOP staff and vulnerable inmates, observes that

“the rate of infection within BOP remains nearly four and a half times higher than in the general

population” and that such statistics “likely significantly underestimate the extent of the virus in

BOP facilities.” Id. at 2 & n.5. Simply stated, there is “mounting evidence that efforts to contain

the virus within BOP facilities are failing.” Id. at 2. In cases of COVID-19 deaths among the

prison population “none of these men and women were sentenced to die in prison.” Id. at 3.




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       Mr. Collins respectfully submits that—in the face of pointed and crucial questions that

remain unanswered—the situation may be “remarkable” but not for the reasons the Government

posits. Opp’n at 2. In the absence of actual evidence that the pandemic is under control, Mr.

Collins should not be subject to unnecessary and potentially deadly risk—particularly where

there is no prejudice to society from the additional requested delay. The Court should exercise its

reasoned discretion to grant the relief requested.

II.    The Opposition Dramatically Understates the Risks

       The Government seeks to downplay the serious risks to somebody with Mr. Collins’ age

and health characteristics. Yet an individualized assessment is fundamental to rendering a just

result. Cf. Gall v. United States, 552 U.S. 38 (2007). First, the Opposition emphasizes that

asthma and hypertension have not been “definitively” shown to be aggravators. Opp’n at 3. Still,

it recognizes that CDC guidance states that “adults of any age with the following conditions

might be at an increased risk for severe illness.” See https://www.cdc.gov/coronavirus/2019-

ncov/need-extra-precautions/people-with-medical-conditions.html. Respectfully, any potential

increased risk is a factor that must be considered and not merely dismissed. Further, the fact is

that hypertension is among the most common COVID-19 comorbidities, and asthma is also

understood to amplify risks. See, e.g., https://hub.jhu.edu/2020/09/01/comorbidities-and-

coronavirus-deaths-cdc/ and Mtn. at 16-17 (collecting cases where compassionate release was

granted and asthma was one factor).

       Further, while the Opposition recognizes that age is a substantial risk factor, it suggests

that an individual aged 70 is only slightly worse off than one aged 50-64, and significantly better

off than one aged 85-plus. Opp’n at 3. These cherry-picked statistics significantly misconstrue

the relevant evidence. All of those age groups are at significantly increased risk. Indeed, CDC




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data shows that compared to those in the 18-29 control bracket, hospitalization for Mr. Collins’

cohort is 5 times higher, and death is 90 times higher:




    Source: CDC, COVID-19 Hospitalization and Death by Age https://www.cdc.gov/coronavirus/2019-ncov/covid-
    data/investigations-discovery/hospitalization-death-by-age.html


The Government cannot avoid the unescapable truth that since the beginning of the pandemic,

those over age 65 have been recognized consistently as the population most vulnerable.5

Moreover, piecemeal consideration of each of Mr. Collins’ significant risk factors in isolation

presents a misleading assessment of the significant risk Mr. Collins faces. The Court should

consider these serious risk factors in aggregate, which subject Mr. Collins to an unacceptably

high risk of death should he contract the disease in prison.




5
  As an aside, some of the “factors that increase community spread and individual risk” identified in the same chart
include “crowded situations,” “close / physical contact,” and “enclosed space.” Those items are certainly an accurate
depiction of prison.



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       Finally, the Government cites to a single example—Sheldon Silver—that is neither

equivalent nor informative. The underlying conduct, the charges of conviction after trial, the

sentence, restitution, and fines, are all dramatically different. In seizing upon an extreme case,

the Government glosses over the myriad defendants who have appropriately been granted

delayed sentences or compassionate relief. Notably, these defendants include Billy Walters, who

was released early from the very same facility to which Mr. Collins has been designated, who

was also sentenced for insider trading (albeit, substantially more egregious), who, at 73, was

nearly the same age, and who had nearly 24 months remaining on his sentence. Paul Manafort

was released to home confinement after serving only about two years from his seven 7 ½ year

sentence. Michael Cohen, another example, had served only twelve months and had twenty-four

remaining. Other defendants in this District have likewise been released with substantial time

remaining and, indeed, more than Mr. Collins’ total sentence. See, e.g., United States v.

Williams-Bethea, No. 18-cr-78, 2020 WL 2848098, at *4 (S.D.N.Y. June 2, 2020) (bribery and

wire fraud charges, 29 months remaining); United States v. Zukerman, 2020 WL 1659880

(S.D.N.Y. Apr. 3, 2020) (tax fraud in the millions of dollars, nearly three years remaining); Mtn.

at 15-18 (collecting cases). Pointing to Sheldon Silver out of the many cases is directly contrary

to the need to consider Mr. Collins’ individualized case.

III.   Sentence Modification Comports with Both Parties’ Positions

       As demonstrated above, there is a high risk for great harm to Mr. Collins if the

Government’s position is adopted. On the other side of the ledger is the nebulous position that “it

is time,” Opp’n at 5, notwithstanding the raging and worsening pandemic. The Government has

not demonstrated any compelling prejudice from an additional delay. However, to the extent that

the Court decides that Mr. Collins should begin serving his sentence immediately, then the




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solution that marries the position of the Government and of Mr. Collins is for Mr. Collins to

commence his sentence on home confinement.6

         The Government recognizes that “the world has changed significantly since January” and

also correctly recognizes that “the need to deter this conduct and to see justice done” has not. Id.

at 4. Life threatening incarceration, in the face of grave danger, however, is neither the only nor

the appropriate measure of justice. As explained in Mr. Collins’ motion in great detail, the

pandemic has wrought a sea change since the time of his sentencing. Mtn. at 18-20. Under the

present unique circumstances now facing the country, a term of home confinement would serve

as a meaningful deterrent and provide a just punishment. Id. The Government’s only answer is

intransigence, which is no answer at all. Twenty-six months of home confinement, with

significant restrictions, and the fine that Mr. Collins has already paid, is substantial punishment.

Respectfully, the risks are simply too high, and the relative benefit to the community too little.

         Incarceration at this time, under current conditions, with a period of solitary confinement

and the risk of permanent (or life-threatening) health impairments, is not the sentence the Court

imposed. It would be substantially more severe; it is only appropriate for the Court to make a

modification. See, e.g., United States v. Zukerman, 451 F. Supp. 3d 329, 336 (S.D.N.Y. 2020).




6
  The position that “the weight of authority indicates that a sentenced defendant who, like Collins, is not yet in BOP
custody cannot avail himself of Section 3582(c)” is inaccurate. See Opp’n at 3. As identified in the Motion, at 12
n.20, there is substantial support for the position that nothing in the statute requires a petitioner to first be
incarcerated prior to seeking relief from BOP. It would defy common sense to require an inmate to first subject
himself or herself to the unnecessary risk of a COVID-19 infection before being able to seek redress to avoid that
same harm. Moreover, the reasoning of United States v. Austin, No. 06-cr-991 (JSR), 2020 WL 3447521, at *2
(S.D.N.Y.) is one of statutory construction. While there the defendant had served time, the “only absolute
requirement” remains the same, namely “that a defendant be subject to a federal sentence.” See also United States v.
Proudfoot, No. 15-cr-427, 2020 WL 4284128 at * (D. Ore. July 27, 2020) (citing Austin and concluding that the
Court could “assume” the correctness of the defendant’s position and reach the merits) and concluding that “the ends
of justice will best be served by postponing Mr. Proudfoot’s date of self-surrender during the pendency of the
COVID-19 pandemic.”).



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Mr. Collins respectfully requests that the Court extend the Report Date to December 8, 2020 or,

in the alternative, modify his sentence to time-served plus a period of supervised release with the

special condition of home confinement.

                                                     Respectfully submitted,

New York, NY
October 8, 2020

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